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 7 Attorneys for Plaintiff Jay Rosenstein
 8                          IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE DISTRICT OF ARIZONA
10    Jay Rosenstein,
                                                       NO.
11                                   Plaintiff,
                                                       COMPLAINT AND DEMAND FOR
12    vs.                                              JURY TRIAL
13    Turning Point USA, Inc.,                         (Assigned to _______________________)
14                                   Defendant.
15
               Pursuant to Fed. R. Civ. P. 8, Plaintiff, Jay Rosenstein (“Plaintiff” or “Rosenstein”),
16
     alleges against Defendant, Turning Point USA Inc. (“Defendant”), as follows.
17
                                                  THE PARTIES
18
               1.     Plaintiff, Jay Rosenstein, is an Emeritus Professor, Media & Cinema Studies at
19
     the University of Illinois, Urbana. Rosenstein is an award-winning journalist and filmmaker,
20
     whose films have appeared in important venues such as Public Broadcast Service (PBS) series
21
     and the Sundance Film Festival. Rosenstein’s work particularly emphasizes social justice
22
     issues.
23
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                                    1           2.    Defendant, Turning Point USA (“TPUSA”), is an American nonprofit
                                    2 organization that pushes conservative agendas in secondary and post-secondary educational
                                    3 institutions. It does this by influencing student elections, promulgating and publishing
                                    4 provocative claims calculated to incite outrage, and coordinating protests that mock social
                                    5 justice agendas. For example, student members of the Kent State chapter of Turning Point
                                    6 USA dressed up as diaper wearing babies to protest campus “safe-space culture” in 2017.
                                    7           3.    In 2016, TPUSA launched Professor Watchlist, a website that “outs” academics
                                    8 who allegedly “discriminate against conservative students and advance leftist propaganda in
                                    9 the classroom.” Professor Watchlist also claims to be a “carefully aggregated list sourced by
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                                   10 published news stories detailing radical behavior among college professors.” See Exhibit A,
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                                   11 Professor Watchlist, Exposing Bias on Campus, https://www.professorwatchlist.org/ (last
                                   12 visited July 22, 2024). Professor Watchlist states that “Factual Integrity and Sourced
                                   13 Accounts are Critical to the Mission of Professor Watchlist” and “we only publish profiles
                                   14 on incidents that have been reported and published via a credible source” See Exhibit B,
                                   15 Professor Watchlist, About Us , https://www.professorwatchlist.org/aboutus (last visited June
                                   16 24, 2024).
                                   17           4.    In fact, mainstream media investigations reveal that the statements made by the
                                   18 Professor Watchlist about professors are often inaccurate and it reports incidents unrelated to
                                   19 propagandizing of or discrimination against a political viewpoint. The New York Times
                                   20 reports that TPUSA openly admits that no evidence is required to report a professor to the
                                   21 “Watchlist.” On at least three occasions, professors report that postings about them on
                                   22 “Professor Watchlist” have led to them being threatened with physical violence.
                                   23                               JURISDICTION, VENUE, TIER
                                   24           5.    Jay Rosenstein resides in Champaign, Illinois and Brooklyn, New York.
                                   25

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                                    1           6.    Turning Point USA, Inc. is a 501(c)(3) non-profit organization founded in 2012
                                    2 and organized under the laws of Indiana.
                                    3           7.    Defendant’s headquarters address in Maricopa County, Arizona is 4940 East
                                    4 Beverly Road, Phoenix, Arizona 85044.
                                    5           8.    Jurisdiction is proper in this Court under 28 U.S.C. § 1332(a) because the
                                    6 parties are citizens of different states and the amount in controversy exceeds $75,000.
                                    7           9.    Venue is proper in this case under 28 U.S.C. § 1391(b)(1-2) because the
                                    8 defendant resides in the District of Arizona and a substantial portion of events giving rise to
                                    9 the claim took place in the District of Arizona.
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                                   10                                 FACTUAL ALLEGATIONS
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                                   11           10.   In 1996, Rosenstein completed a documentary film entitled “In Whose Honor?”
                                   12           11.   The film follows the story of Charlene Teters, a Native American mother from
                                   13 Spokane, who attended graduate school at the University of Illinois, Urbana-Champaign in
                                   14 the late 80s and early 90s. During that time, Teters encountered the University of Illinois
                                   15 mascot, “Chief Illiniwek,” who appeared at college athletic events. “Chief Illiniwek” was
                                   16 played by a student who wore faux Native face paint and Sioux regalia. Her distress about
                                   17 this stereotype portrayal caused Teters to become the leader of a national movement that
                                   18 campaigned for the retirement of Native American names and figures as mascots and
                                   19 nicknames of American athletic teams (the “anti-mascot movement”).
                                   20           12.   The film premiered nationally on the Public Broadcasting Service’s “Point of
                                   21 View” program on July 15, 1997.
                                   22           13.   The film catalyzed the anti-mascot movement throughout collegiate and
                                   23 professional sports.
                                   24
                                   25

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                                    1           14.   On August 5, 2005, the National Collegiate Athletic Association issued
                                    2 guidelines      prohibiting   NCAA    schools   from    displaying    “hostile   and   abusive
                                    3 racial/ethnic/national origin Native mascots” (the “Mascot Policy”).
                                    4           15.   Consistent with the Mascot Policy, the University of Illinois retired Chief
                                    5 Illiniwek on February 21, 2007.
                                    6           16.   But an “Unofficial Chief Illiniwek” continued to make unauthorized
                                    7 appearances at University of Illinois events through at least 2018.
                                    8           17.   Two sponsors of these appearances were the organizations “Students for Chief
                                    9 Illiniwek” at the University of Illinois and the “Honor the Chief Society.”
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                                   10           18.   “Students for Chief Illiniwek” describes itself as a “progressive registered
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                                   11 student organization that supports the education of students and the surrounding community
                                   12 on the subject of Chief Illiniwek and related symbolism, and their right to free expression of
                                   13 support.”
                                   14           19.   The “Honor the Chief Society” describes itself as a community organization
                                   15 “dedicated to the preservation of Positive Native American Symbolism.”
                                   16           20.   Ivan Dozier (“Dozier”) attended the University of Illinois, Urbana from 2010
                                   17 until 2016.
                                   18           21.   While a student, Dozier was a member of “Students for Chief Illiniwek.”
                                   19           22.   “Students for Chief Illiniwek” named Dozier the “Unofficial Chief Illiniwek”
                                   20 in 2010.
                                   21           23.   As such, Dozier dressed up in a Native American costume and face paint and
                                   22 appeared at various Illinois sporting events of his choice.
                                   23           24.   In or around 2015, Dozier stopped serving as the Unofficial Chief Illiniwek. A
                                   24 new Unofficial Chief Illiniwek, Omar Cruz, was selected at this time.
                                   25

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                                    1           25.   Rosenstein witnessed and filmed appearances by Dozier and Cruz as the
                                    2 “Unofficial Chief Illiniwek” at multiple sporting events.
                                    3           26.   Dozier received a bachelor’s degree in Agronomy and Crop Science from the
                                    4 University of Illinois in 2013. He completed his studies at the University of Illinois when he
                                    5 received a master’s degree in Crop Sciences in 2016.
                                    6           27.   After graduating from the University of Illinois, Dozier joined the “Honor the
                                    7 Chief Society” and served as its president. He continues to serve as its president as of 2024.
                                    8           28.   On the evening of January 22, 2018, Rosenstein attended an Illinois basketball
                                    9 game at the State Farm Center in Champaign, Illinois.
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                                   10           29.   Rosenstein believed that the Unofficial Chief Illiniwek would make an
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                                   11 appearance at that basketball game.
                                   12           30.   Rosenstein believed that employees of the State Farm Center were helping to
                                   13 facilitate the appearances of the Unofficial Chief Illiniwek in various ways.
                                   14           31.   Such assistance by University of Illinois employees would violate university
                                   15 policy and its agreements with the NCAA, as well as violating NCAA guidelines prohibiting
                                   16 schools from displaying hostile mascots.
                                   17           32.   In his capacity as a journalist, Rosenstein intended to investigate whether state
                                   18 employees were in fact providing such assistance.
                                   19           33.   Rosenstein believed that a restroom at the State Farm Center was a staging area
                                   20 for unauthorized appearances by the Unofficial Chief Illiniwek (the “Staging Restroom”).
                                   21           34.   To determine whether university employees were assisting in the unauthorized
                                   22 appearances of the “Unofficial Chief Illiniwek,” Rosenstein entered the Staging Restroom.
                                   23           35.   In case photographic proof was necessary to support the results of his
                                   24 investigation, Rosenstein used his mobile phone to make a video, while he entered the Staging
                                   25 Restroom.

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                                    1           36.   Inside, Dozier was washing his hands at a sink.
                                    2           37.   Mr. Dozier’s father saw Rosenstein and rushed out to alert security before
                                    3 Rosenstein had taken no more than three steps into the Staging Restroom.
                                    4           38.   After no more than fifteen seconds, Rosenstein left the Staging Restroom.
                                    5           39.   Under Illinois law, making a video in a restroom is not permitted.
                                    6           40.   A responding University of Illinois police officer interviewed Dozier and his
                                    7 father that night.
                                    8           41.   Both men lied to the police officer and said that Plaintiff had filmed Dozier
                                    9 while he was using a urinal, according to the officer’s police report.
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                                   10           42.   The police officer arrested Rosenstein.
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                                   11           43.   A police report documents the activity contemporaneous with the arrest. See
                                   12 Exhibit C, Police Report.
                                   13           44.   According    to   the   Police   Report,   Offense   /   Crime   Code   “1261
                                   14 UNAUTHORIZED VIDEOTAPING / LIVE VIDEO” was the reason Plaintiff was arrested.
                                   15           45.   The Police Report further states that, “Sgt. Moore advised, via radio, that
                                   16 [Rosenstein] was to be placed under arrest for Unauthorized Video Recording.
                                   17           46.   The Police Report further specifies that the offense for which Rosenstein was
                                   18 arrested was violation of Illinois Revised Statutes, Chapter 720, Act 5, Title III, Part D,
                                   19 Article 26, entitled “Unauthorized video recording and live video transmission.”
                                   20           47.   On January 23, 2018, multiple local and national news sources described the
                                   21 arrest, include the information that the charge was “Unauthorized Videotaping.”
                                   22           48.   Later that night, Dozier lied in a post to his Facebook page, falsely claiming
                                   23 that Rosenstein filmed him while he was standing at a urinal.
                                   24           49.   Dozier repeated his lie in media interviews.
                                   25

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                                    1           50.   All charges against Rosenstein were dropped at 9AM the morning following
                                    2 his arrest by the Champaign (IL) County States Attorney.
                                    3           51.   Dozier’s lies had already metastasized on social media and in the press.
                                    4           52.   Dozier filed a civil action falsely accusing Rosenstein of obtaining video of him
                                    5 while he was using a urinal.
                                    6           53.   Dozier was deposed during that civil action on March 6, 2021.
                                    7           54.   Dozier admitted during deposition that he had never seen Rosenstein film him
                                    8 while he was using a urinal.
                                    9           55.   Dozier admitted that when he encountered Rosenstein in the Staging Restroom,
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                                   10 he was fully clothed and standing at a sink washing his hands.
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                                   11           56.   Several news publications, include the Champaign Urbana News Gazette (May
                                   12 10, 2023) and Medium (April 11, 2023) carried news stories detailing Dozier’s admissions
                                   13 during deposition that he was fully clothed and not using the urinal when Rosenstein filmed
                                   14 him. See Exhibit D, Pressy, D., Bathroom videotaping episode in Chief Illiniwek dispute
                                   15 inching toward trial, Champaign-Urbana News Gazette (May 20, 2023), https://www.news-
                                   16 gazette.com/news/local/courts-police-fire/bathroom-videotaping-episode-in-chief-illiniwek-
                                   17 dispute-inching-toward-trial/article_20e76ada-c7ed-501d-8e1c-7b021e7144b1.html (lasted
                                   18 visited Jul 22, 2024); Exhibit E, Rosenstein, J., Former Chief Illiniwek Ivan Dozier, who
                                   19 accused a U of I professor of filming him while urinating, confesses under oath it never
                                   20 happened, Medium, (April 22, 2023), https://medium.com/@jayrosenstein/former-chief-
                                   21 illiniwek-ivan-dozier-who-accused-a-u-of-i-professor-of-filming-him-while-urinating-
                                   22 6e9566f24eb0.
                                   23           57.   Before September 21, 2020, TPUSA posted to their Professor Watchlist
                                   24 website the “mug shot” picture of Rosenstein, his name, his university affiliation, and a
                                   25 statement that “Jay Rosenstein is a Professor of Media and Cinema Studies at the University

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                                    1 of Illinois – Urbana Champaign. Rosenstein was arrested on January 22, 2018 for illegally
                                    2 filming         a     student   who     was     using   the    urinal.”   See    Exhibit    F,
                                    3 https://web.archive.org/web/20200921150038/https://professorwatchlist.org/professor/jayro
                                    4 senstein.
                                    5           58.       Upon information and belief, Turning Point USA modified the webpage
                                    6 containing this post multiple times before June 3, 2023, at one point removing the caption
                                    7 containing his university affiliation.
                                    8           59.       On information and belief, on about September 21, 2023, Turning Point USA
                                    9 re-added the caption stating Rosenstein’s university affiliation and modified the post to read
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                                   10 “Jay Rosenstein is a Professor Emeritus of Media and Cinema Studies at the University of
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                                   11 Illinois – Urbana Champaign. Rosenstein was arrested on January 22, 2018 for illegally
                                   12 filming a student who was using the urinal.” (the “Defamatory Statement”).
                                   13           60.       Sometime after November 30, 2023, TPUSA modified the webpage containing
                                   14 the defamatory statement and thereby republished it. See Exhibit G, Professor Watchlist,
                                   15 Jay Rosenstein, https://www.professorwatchlist.org/professor/jayrosenstein (July 22, 2024).
                                   16           61.       TPUSA’s Defamatory Statement was defamation per se because it damaged
                                   17 Rosenstein in his trade, occupation, and/or business, and they were defamatory on their face
                                   18 without reference to any extrinsic information.
                                   19           62.       The Defamatory Statement has caused Rosenstein emotional pain and suffering
                                   20 as well as injury to his reputation, honor, and dignity.
                                   21           63.       Rosenstein has suffered professional harm as a direct result of TPUSA’s
                                   22 Defamatory Statement because his reputation, discretion, and credibility are crucial to his
                                   23 success as a professor, journalist and filmmaker.
                                   24
                                   25

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                                    1           64.   Rosenstein has suffered professional harm as a result of TPUSA’s Defamatory
                                    2 Statement because academic institutions would understandably be reluctant to hire a faculty
                                    3 member reputed to have committed a sex crime against a student.
                                    4           65.   Since TPUSA published its Defamatory Statement, Rosenstein has applied for
                                    5 faculty positions but not received an interview, despite being internationally renowned as a
                                    6 filmmaker, journalist, and teacher.
                                    7           66.   By its own admission, TPUSA “carefully aggregates” the information it
                                    8 publishes; it therefore published the Defamatory Statement with reckless disregard for the
                                    9 truth or actual malice.
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                                   10                                            COUNT I
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                                                                             Defamation Per Se
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                                   11
                                                67.   Rosenstein incorporates by reference all preceding paragraphs and re-alleges
                                   12
                                        them as if set forth fully herein.
                                   13
                                                68.   Sometime on or about September 21, 2023, Defendant republished on its
                                   14
                                        website, viewable to the entire world, a statement that Rosenstein was arrested for “illegally
                                   15
                                        filming a student who was using a urinal.”
                                   16
                                                69.   Sometime after November 30, 2023, Defendant republished on its website,
                                   17
                                        viewable to the entire world, a statement that Rosenstein was arrested for “illegally filming a
                                   18
                                        student who was using a urinal.”
                                   19
                                                70.   The statement was viewed by multiple third parties.
                                   20
                                                71.   That statement is false because Rosenstein was arrested for violation of Illinois
                                   21
                                        Revised Statutes, Chapter 720, Act 5, Title III, Part D, Article 26, entitled “Unauthorized
                                   22
                                        video recording and live video transmission” not for “illegally filming a student who was
                                   23
                                        using a urinal.”
                                   24
                                   25

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                                    1           72.   The Statement is false because according to his own statements under oath,
                                    2 Dozier was fully clothed and not using the urinal when Rosenstein filmed him.
                                    3           73.   The Statement is false because Dozier was not a student when Rosenstein
                                    4 filmed him.
                                    5           74.   At the time TPUSA republished the Defamatory Statement, TPUSA knew or
                                    6 recklessly disregarded that it was false, because TPUSA acknowledges that it “carefully”
                                    7 aggregates its information from reliable news sources, and multiple nationally distributed
                                    8 news sources had correctly described the violation for which Rosenstein was arrested, that
                                    9 Dozier was not a student at the time of the filming, and that Dozier recanted under oath his
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                                   10 allegation that Rosenstein filmed him while he was undressed or using the urinal.
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                                   11           75.   TPUSA acted with actual malice because its intent is to do harm to the “left
                                   12 leaning” professors it includes on “Professor Watchlist.”
                                   13           76.   Defamatory Statement was defamation per se because it stated that Rosenstein,
                                   14 a professor, committed a sex crime against a student, thereby imputing to him a crime of
                                   15 moral turpitude and injuring him in his profession.
                                   16           77.   TPUSA’s Defamatory Statements caused Rosenstein to suffer reputational,
                                   17 emotional, and professional harm, as alleged above.
                                   18                                            COUNT II
                                                                       False Light Invasion of Privacy
                                   19
                                                78.   Rosenstein incorporates by reference all preceding paragraphs and re-alleges
                                   20
                                        them as if set forth fully herein.
                                   21
                                                79.   The Defamatory Statement clearly refers to Rosenstein because it is posted
                                   22
                                        under a picture of him and uses his name.
                                   23
                                                80.   It would be highly offensive to any reasonable person to be identified as filming
                                   24
                                        a student using a urinal.
                                   25

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                                    1           81.   The Defamatory Statement was highly inaccurate because Dozier was neither
                                    2 a student nor using the urinal and was fully clothed when Rosenstein filmed him.
                                    3           82.   At the time TPUSA republished the Defamatory Statement, TPUSA knew or
                                    4 recklessly disregarded that it was false because TPUSA acknowledges that it “carefully”
                                    5 aggregates its information from reliable news sources, and multiple nationally distributed
                                    6 news sources had correctly described the violation for which Rosenstein was arrested,
                                    7 Dozier’s lack of student status at the time of the filming, and Dozier’s under oath admission
                                    8 that he was neither using a urinal nor in anyway undressed while Rosenstein was filming him.
                                    9           83.   TPUSA acted with actual malice because its intent is to do harm to the “left
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                                   10 leaning” professors it includes on “Professor Watchlist.”
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                                   11                                 DEMAND FOR JURY TRIAL
                                   12           84.   Plaintiff demands a Jury Trial for the causes of action listed above.
                                   13           WHEREFORE, Plaintiff requests the Court award him judgment against Defendant as
                                   14 follows:
                                   15           A.    Order TPUSA to de-publish the Defamatory Statement;
                                   16           B.    Actual damages in an amount to be proven at trial but no less than $75,001;
                                   17           C.    Presumed damages in an amount to be determined by a jury;
                                   18           D.    Punitive damages in an amount to be determined by a jury;
                                   19           E.    Costs, pre and post-judgment interest; and
                                   20           F.    Such other relief this Court may deem just and proper to award.
                                   21           DATED this July 22, 2024.
                                   22                                             RUSING LOPEZ & LIZARDI, P.L.L.C.

                                   23                                             /s/ Paige E. Scalf
                                                                                       Mark D. Lammers
                                   24                                                  Paige E. Scalf
                                                                                       Attorneys for Plaintiff
                                   25

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